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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS


 MARSHALL SMITH, BRANDON
 HERMAN, CHAD PATTERSON, JEFFERY
 ROBERTS, MICHAEL WILL, SUSAN
 WINSTEAD, ROBERT BOHANNON,                            Civil Action No. 1:18-cv-4990
 HOLLY BUCKINGHAM, RICHARD
 MORELLO, JR., ROBERT HARRIS,
 AMANDA LARISCY, CHARLES                               CLASS ACTION
 NEWMAN, and PAUL CHRISTIANSEN,
 individually and on behalf of all similarly           Jury Trial Demanded
 situated persons,
                                                       Hon. Edmond E. Chang
                Plaintiffs,

    v.

 COMPLYRIGHT, INC., a Minnesota
 corporation,

                Defendant.


                                  ORDER AND JUDGMENT

         WHEREAS, the Court, having considered the Settlement Agreement filed May 22, 2019

(ECF No. 83-1) (the “Settlement”) between and among Representative Plaintiffs, individually and

on behalf of the Settlement Class, and Defendant ComplyRight, Inc. (“ComplyRight”), the Court’s

Order Granting Preliminary Approval of Class Action Settlement Agreement, Directing Notice to

the Settlement Class, and Scheduling Final Fairness Hearing (ECF No. 88) (“Preliminary Approval

Order”), having held a Final Fairness Hearing on October 7, 2019, having considered all of the

submissions and arguments with respect to the Settlement, and otherwise being fully informed,

and good cause appearing therefor;

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
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        1.      Representative Plaintiffs’ Motion for Final Approval of Class Action Settlement

Agreement (ECF No. 95-1) is granted.

        2.      This Order and Judgment incorporates herein and makes a part hereof, the

Settlement (including its exhibits) and the Preliminary Approval Order. Unless otherwise provided

herein, the terms defined in the Settlement and Preliminary Approval Order shall have the same

meanings for purposes of this Order and Judgment.

        3.      The Court has subject matter jurisdiction over this matter including, without

limitation, jurisdiction to approve the Settlement, confirm certification of the Settlement Class, to

settle and release all claims released in the Settlement, and to dismiss the Litigation with prejudice.

  I.    CERTIFICATION OF THE SETTLEMENT CLASS

        4.      Based on its review of the record before the Court, including the Settlement, all

submissions in support of the Settlement, and all prior proceedings in the Litigation, the Court

finally certifies the following nationwide class (the “Settlement Class”) for settlement purposes

only:

         All persons whose Personal Information was maintained on ComplyRight’s
        website during the Data Breach that occurred from at least April 20, 2018 through
        May 22, 2018, including all persons who were sent the July 13, 2018 letter
        informing them of the Data Breach. Excluded from the Settlement Class are: (a)
        individuals who are or were during the Data Breach officers or directors of
        ComplyRight; (b) any person found to be criminally involved in the Data Breach;
        and (c) any judge presiding over this matter.

        5.      Excluded from the Settlement Class are those Persons listed in Exhibit C to the

Declaration of Jeremy Neville on Behalf of Settlement Administrator Regarding Class Notice

(ECF No. 95-2), who submitted timely and valid requests for exclusion from the Settlement Class.

Such Persons shall not receive the benefits of the Settlement and shall not be bound by this Order

and Judgment.




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       6.      The Court confirms, for the purposes of settlement only, that the class action

requirements of Fed. R. Civ. P. 23(a) and (b)(3) are satisfied in that: (a) Settlement Class Members

are so numerous that joinder of all members is impracticable; (b) important questions of law or

fact exist that are common to all Settlement Class Members; (c) the claims of Representative

Plaintiffs are typical of the claims of the Settlement Class Members they seek to represent; (d)

Representative Plaintiffs and Co-Lead Settlement Class Counsel have and will fairly and

adequately represent the interests of the Settlement Class; (e) questions of law and fact common

to members of the Settlement Class predominate over any questions affecting only individual

members of the Settlement Class; and (f) a class action is the superior method to fairly and

efficiently adjudicate this controversy.

 II.   NOTICE TO THE SETTLEMENT CLASS

       7.      The Court finds that Notice has been given to the Settlement Class in the manner

approved by the Court in the Preliminary Approval Order. The Court finds that such Notice: (i)

was reasonable and constituted the best practicable notice under the circumstances; (ii) was

reasonably calculated, under the circumstances, to apprise Settlement Class Members of the

pendency of the Litigation, the terms of the Settlement, their right to exclude themselves from the

Settlement Class or object to all or any part of the Settlement, their right to appear at the Final

Fairness Hearing (either on their own or through counsel hired at their own expense), and the

binding effect of final approval of the Settlement on all persons who do not exclude themselves

from the Settlement Class; (iii) constituted due, adequate, and sufficient notice to all persons or

entities entitled to receive notice; and (iv) fully satisfied the requirements of the United States

Constitution (including the Due Process Clause), Fed. R. Civ. P. 23, and any other applicable law.




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       8.      The Court further finds that ComplyRight, through the Settlement Administrator,

provided notice of the Settlement to the appropriate state and federal government officials pursuant

to 28 U.S.C. § 1715. Furthermore, the Court has given the appropriate state and federal government

officials the requisite ninety (90) day time period to comment or object to the Settlement before

entering its Order and Judgment.

III.   FINAL APPROVAL OF THE SETTLEMENT

       9.      The Court finds that the Settlement resulted from extensive arm’s length good faith

negotiations between Co-Lead Settlement Class Counsel and ComplyRight, through experienced

counsel, with the assistance of the Honorable Wayne R. Andersen (Ret.) of JAMS.

       10.     Pursuant to Fed. R. Civ. P. 23(e) and for the reasons stated in open court on October

7, 2019, the Court hereby finally approves in all respects the Settlement as fair, reasonable, and

adequate, and in the best interest of the Settlement Class.

       11.     The Court finds that Representative Plaintiffs and Co-Lead Settlement Class

Counsel fairly and adequately represented the interests of Settlement Class Members in connection

with the Settlement.

       12.     The Settling Parties shall consummate the Settlement in accordance with the terms

thereof. The Settlement, and each and every term and provision thereof, shall be deemed

incorporated herein as if explicitly set forth herein and shall have the full force and effect of an

order of this Court.




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IV.    DISMISSAL OF CLAIMS AND RELEASE

       13.     The Litigation is hereby dismissed with prejudice and without cost to any party,

except as otherwise provided herein or in the Settlement.

       14.     Upon the Effective Date, each Settlement Class Member, including Representative

Plaintiffs, shall be deemed to have, and by operation of the Order and Judgment shall have, fully,

finally, and forever released, relinquished, and discharged all Claims that either have been asserted

or could have been asserted by any Settlement Class Member against any of the Released Persons

based on, relating to, concerning or arising out of the allegations, facts, or circumstances alleged

in the Litigation, and related to the Data Breach (“Released Claims”). Without limitation of the

foregoing, Released Claims specifically include Claims stemming from the Data Breach that may

have been or could have been asserted whether known or unknown, by any Settlement Class

Member against any person or entity that could seek indemnification or contribution from any of

the Released Persons in respect of such Claim. Released Claims shall not include the right of any

Settlement Class Member or any Released Person to enforce the terms of the settlement contained

in the Settlement Agreement. Further, upon the Effective Date, and to the fullest extent permitted

by law, each Settlement Class Member, including Representative Plaintiffs, shall, either directly,

indirectly, representatively, as a member of or on behalf of the general public, or in any capacity,

be permanently barred and enjoined from commencing, prosecuting, or participating in any

recovery in, any action in this or any other forum (other than participation in the settlement as

provided herein) in which any of the Released Claims is asserted.




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       15.     Upon the Effective Date, ComplyRight and Related Persons shall be deemed to

have, and by operation of the Order and Judgment shall have, fully, finally, and forever released,

relinquished, and discharged all claims, known or unknown, arising out of or relating to the

institution, prosecution, settlement, or resolution of the Litigation, provided however, that this

release, relinquishment, and discharge shall not include claims by the Parties or Settlement Class

Members to enforce the terms of the Settlement or Settlement Agreement.

 V.    ATTORNEYS’ FEES, COSTS, AND EXPENSES AND REPRESENTATIVE
       PLAINTIFF SERVICE AWARDS

       16.     Representative Plaintiffs’ Motion for Award of Attorneys’ Fees, Reimbursement of

Costs and Expenses, and Payment of Representative Plaintiff Service Awards (ECF No. 91), is

granted.

       17.     For the reasons stated in open court on October 7, 2019, the Court awards attorneys’

fees of $908,333, reimbursement of costs and expenses in the amount of $23,723.85, and payment

of service awards in the amount of $2,500 to each of Representative Plaintiffs. The Court directs

the Settlement Administrator to pay such amounts from the Settlement Fund in accordance with

the terms of the Settlement. Co-Lead Settlement Class Counsel, in their sole discretion to be

exercised reasonably, shall allocate and distribute the attorneys’ fees, costs, and expenses awarded

by the Court among Plaintiffs’ counsel of record in the Litigation.

VI.    OTHER PROVISIONS

       18.     Without affecting the finality of this Judgment in any way, this Court retains

continuing jurisdiction over the Settling Parties and the Settlement Class for the administration,

consummation, and enforcement of the terms of the Settlement Agreement.

       19.     In the event the Effective Date does not occur, this Order and Judgment shall be

rendered null and void and shall be vacated and, in such event, as provided in the Settlement



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Agreement, this Order and Judgment and all orders entered in connection herewith shall be vacated

and null and void, the Settling Parties shall be restored to their respective positions in the

Litigation, the terms and provisions of the Settlement shall have no further force and effect with

respect to the Settling Parties and shall not be used in the Litigation or in any other proceeding for

any purpose, and any judgment or order entered by the Court in accordance with the terms of the

Settlement Agreement shall be treated as vacated, nunc pro tunc.


IT IS SO ORDERED.




Dated: October 7, 2019                                        ______________________________
                                                              Honorable Edmond E. Chang
                                                              United States District Judge




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